UNIVERSITY OF
ILLINOIS

THE
AT

Case: 1:19-cv-06271 Document #: 13-1 Filed: 12/02/19 Page 1 of 10 PagelD #:65

April 26, 2019

CHICAGO

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Professor Paul A. Schewe

Re: Sexual Misconduct Investigation Finding
Dear Professor Schewe,

The Title IX Coordinator, through the Office for Access and Equity (OAE), has completed
its investigation into the August 2018 complaint of Erin O’Callaghan (Reporting Party),
current graduate student in the Department of Criminology, Law and Justice (CLJ), in which
she alleges that you (Responding Party), Professor and Director of Graduate Studies in CLJ,
violated UIC’s Prohibition of Sex Discrimination, Sexual Harassment and Sexual
Misconduct (Sexual Misconduct Policy)' when you allegedly engaged in sexual misconduct
(defined in the Sexual Misconduct Policy to include sexual harassment and sexual assault).

I. Allegations

Specifically, Reporting Party alleged that Responding Party sexually assaulted and sexually
harassed Reporting Party, including by starting to perform oral sex on Reporting Party
without her consent. Reporting Party alleged that Responding Party did the following:

1. invited a group of female students, including Reporting Party, to his apartment
on November 2, 2017, after an informal happy hour at Beer Bistro in the West
Loop, where Responding Party and others consumed alcoholic beverages, and
Responding Party drove students to his residence in his vehicle;

2. pressured or encouraged others, including Reporting Party, to consume
additional alcoholic beverages at his apartment even though Reporting Party
had already consumed multiple alcoholic beverages at Beer Bistro and was
intoxicated;

3. tried to get physically closer to and make physical advances toward Reporting
Party while she and Responding Party were alone in his laundry room where
he had gone to show Reporting Party (and encourage her to drink) homemade
wine that was located in the laundry room;

4, sat close to Reporting Party after leaving the laundry room, touched her in the
presence of others, including by putting his arm around her waist, putting his
hand up her shirt underneath her bra, and rubbing her back;

5. entered a bedroom in his apartment where Reporting Party was in bed, rolled
her over, took her pants off, and started to perform oral sex on her without
asking her for her permission; and

6. sent Reporting Party an email on November 5, 2017, in which he stated, among
other things, that he felt like he should have been more of an adult on the night

 

' https://oae.uic.edwwp-content/uploads/sites/32/2018/04/2018 Spring Comprehensive-Sexual-

Misconduct-Policy-and-Procedure.pdf EXHIBIT
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of November 2, that he should have shown more restraint, and that he should
have talked more and assumed less.

Il. Summary of Information and Materials Considered

UIC takes complaints of sexual misconduct very seriously. A thorough and unbiased
investigation was conducted during which OAE interviewed Reporting Party, Responding
Party, and ten witnesses, and also accepted a written statement from an eleventh witness.
Reporting Party and Responding Party both provided documents for the investigation. Both
Reporting Party and Responding Party had an opportunity to review all of the evidence,
including summaries of their own interviews, the witness statements and interview
summaries, and the documents provided to OAE, and to provide comments and additional
evidence to OAE investigators.

Il. Findings

The evidentiary standard that is used to determine violations of the Sexual Misconduct
Policy is preponderance of the evidence, which means that the evidence must show that it
is more likely than not that the Policy has been violated.

Based upon a preponderance of the evidence collected during the investigation, and taking
into account all of the allegations and evidence obtained during the investigation, OAE finds
that Responding Party’s conduct, individually and in total, does not constitute a violation
of the Sexual Misconduct Policy as either sexual harassment or sexual assault. OAE makes
no findings with regard to whether Responding Party’s conduct violated or was otherwise
inconsistent with any other applicable policy or any other employee or faculty conduct
standards or expectations.

IV. Basis for Findings
1. Allegation:

Responding Party invited a group of female students, including Reporting Party,
to Responding Party’s apartment after an informal happy hour at Beer Bistro in
the West Loop, where Responding Party and others consumed alcoholic
beverages, and Responding Party drove a few of them to his residence in his
vehicle.

Determination of Fact:

Substantiated. Investigators, upon review of all the evidence, find that it is more
likely than not that the instant allegation occurred as described. Reporting Party,
Responding Party, and all witness statements corroborate the allegation.

Finding:

Not a violation. OAE finds that inviting students to Responding Party’s
apartment where alcohol was consumed and driving students to his residence
does not constitute sexual harassment because the conduct does not constitute an
unwelcome sexual advance, request for sexual favor, or other physical or verbal
conduct of a sexual nature.
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2. Allegation:

Responding Party pressured or encouraged others, including Reporting Party, to
consume additional alcoholic beverages at Responding Party’s apartment even
though Reporting Party had already consumed multiple alcoholic beverages at
Beer Bistro and was intoxicated.

Determination of Fact:

Not substantiated. As it relates to being pressured, there are inconsistencies in
Reporting Party’s statement. Reporting Party states that she was pressured to
drink, but she also states, “I do not remember feeling pressured per say [sic] to
drink more.” There is a witness account of Reporting Party saying that the wine
she and Responding Party were drinking belonged to them only, which is a
statement inconsistent with being pressured. The evidence does not support a
finding by a preponderance of the evidence that Responding Party pressured
Reporting Party to drink more alcohol.

Reporting Party asserts that she drank a sufficient amount of alcohol over a 4- to
5-hour period, from the gathering at the Beer Bistro through her presence in
Responding Party’s apartment, which caused her to blackout, rendering her
incapacitated and unable to give consent to any sexual activity between her and
Responding Party. While there is evidence that corroborates that Reporting Party
consumed multiple alcoholic beverages, the evidence does not support a finding
by a preponderance of the evidence that Reporting Party was incapacitated either
at Beer Bistro or at Responding Party’s apartment.

Finding:
Nota violation. Because OAE has determined that the allegation that Responding
Party pressured or encouraged Reporting Party to drink more alcohol is not

substantiated, the allegation cannot support a finding that the alleged conduct
violated the Sexual Misconduct Policy.

3. Allegation:

Responding Party tried to get physically closer and make physical advances
toward Reporting Party while the two of them were alone in Responding Party’s
laundry room where he had gone to show Reporting Party (and encourage her to
drink) homemade wine that was located in the laundry room.

Determination of Fact:

Not substantiated. The evidence does not support a finding that it is more likely
than not that this alleged conduct occurred.

Finding:

Nota violation. Because OAE has determined that the allegation that Responding
Party tried to get physically closer and make physical advances toward Reporting
Party while in the laundry room is not substantiated, the allegation cannot support
a finding that the alleged conduct violated the Sexual Misconduct Policy.
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4. Allegation:

Responding Party sat close to Reporting Party after leaving the laundry room,
touched her in the presence of others, including by putting his arm around her
waist, putting his hand up her shirt underneath her bra, and rubbing her back.

Determination of Fact:

Substantiated, in part. The evidence corroborates that Responding Party had his
hand on and rubbed Reporting Party’s back. However, it does not corroborate
that Responding Party’s hand was under Reporting Party’s shirt or bra. Reporting
Party states that while she sat on the arm of the small couch in Responding Party’s
apartment, next to Responding Party, he put his hand underneath her shirt and
rubbed her back. She states that she was unable to move because she was
“frozen” and did not know what to do. Witness 10 asserts that he saw Responding
Party’s hand under her shirt and he shared this information with Witness 1 on or
after the night in question. However, Witness 6? rebuts Witness 10’s observation
and states that she only saw Responding Party’s hand on Reporting Party’s back
over her clothes. The other witnesses, to varying degrees, either saw Responding
Party’s hand on the back of the couch behind Reporting Party or on her back on
top of her shirt. Responding Party denies having his hand underneath her shirt
but says he may have touched her back. The other witnesses, to varying degrees, .
recall that Reporting Party stayed on the arm of the couch and did not move much
or that she moved from the couch and back while engaging in conversation.

Therefore, OAE finds that it is more likely than not that Responding Party put his
hand on and rubbed Reporting Party’s back. However, OAE also finds that the
evidence does not substantiate, by a preponderance of the evidence, that
Responding Party had his hand under Reporting Party’s shirt or underneath her
bra.

Finding:

Not a violation. OAE finds by a preponderance of the evidence that Responding
Party placing his hand on Reporting Party’s back does not constitute sexual
harassment.

. Allegation:

Responding Party entered a bedroom in his apartment where Reporting Party was
in bed, rolled her over, took her pants off, and started to perform oral sex on her
without asking her for her permission.

Determination of Fact:

Not substantiated. Reporting Party stated that she does not recall how she ended
up in Responding Party’s bedroom. She and two witnesses (Witness 1 and

 

? By all witness accounts, Witness 6 was not intoxicated and had only one drink while at Beer Bistro, while
Witness 10 was admittedly drunk and eventually “out of it.” For this reason, OAE found Witness 6 to be
more credible than Witness 10.

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Witness 5) stated that Reporting Party was falling asleep, was lying on the couch,
and did not leave with several of the witnesses who left the apartment and went
to a store for approximately 10 minutes. When they returned from the store,
Reporting Party was not in the living room, where she had been, but was
apparently in Responding Party’s bedroom. However, Responding Party asserts
that Reporting Party walked into his bedroom after the others had left for the
store’, and two witnesses (Witness 7* and Witness 10) recalled seeing Reporting
Party walk toward the back of the apartment, where the bedroom and bathroom
were located, at about the time the others left the apartment and went to the store,
thus leaving Reporting Party alone in the apartment with Responding Party
without any concern for Reporting Party’s welfare.

Witness 5 did not return to the apartment with the others after they went to the
store, but went home. Witnesses 1, 6, 7, and 10 returned to Responding Party’s
apartment. Witnesses informed OAE that when they left the apartment to go to
the store, no one expressed any concern about Reporting Party’s safety or
capacity,

Responding Party stated that after the witnesses left for the store, he went to his
bedroom to lie down and that Reporting Party followed him into the bedroom,
took off her jeans, and lay down on the bed on the side closest to the door while
he moved to the side of the bed next to the wall. According to Reporting Party,
she does not recall how she ended up in the bedroom but recalls that she blacked
out and woke up to the feeling of Responding Party, having removed her jeans,
initiating oral sex. Reporting Party stated that she then blacked out again and does
not recall if Responding Party did anything else to her.

Responding Party denies initiating oral sex or sex of any kind with Reporting
Party but states that Reporting Party started to grind her hips into him and only
stopped when Responding Party touched her on her hip and thigh. According to
Responding Party, Reporting Party froze and he stopped and they spent the rest
of the night cuddling except for when he left the bedroom when the other
witnesses returned from the store. Responding Party said that at some point he
did remove his own jeans and acknowledges that he may have greeted the
witnesses, after their return, in his t-shirt and boxer shorts.

Once the witnesses returned to the apartment only Witness 1 expressed concern
about Reporting Party’s whereabouts, but she did not attempt to go to the
bedroom to talk to Reporting Party to determine her status; instead, Witness |
left the apartment to return to her home with Witness 10. Reporting Party stated
that she was aware that the others had returned to the apartment. Responding
Party left the bedroom to greet the returning witnesses.

 

3 Witness 6 recalls seeing Reporting Party seated on the arm of the couch right before the group went to the

store.

4 Witness 7’s testimony is deemed unreliable because of his poor memory from that evening due to the
amount of alcohol he drank. He did not recall going to the store but all other witnesses assert that he
accompanied them.

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Although Witness 1 originally denied having contact with Reporting Party until
approximately four days later, on November 6, 2017, after their evening class,
Witness 10 informed OAE, and Witness 1 later confirmed, that Witness 1 had
sent a text to Reporting Party at 12:53 am on November 3, 2017, and Reporting
Party replied that she was “Okay.” Witness 1 and Reporting Party also
exchanged texts approximately 10 hours later, and Reporting Party did not
indicate to Witness 1 that anything was wrong. After Witness 1 acknowledged
to OAE that she and Reporting Party had exchanged texts soon after Witness 1
left Responding Party’s apartment, Witness 1 stated that she dropped her cell
phone and could not provide OAE with the screenshots of the texts as OAE had
requested. Reporting Party was provided a copy of Witness 1’s statement to
investigators for comment, but she declined to do so.

The existence of the text messages undermines Reporting Party’s statement that
she was too intoxicated to consent and passed out (i.e., was incapacitated) and
indicates that Reporting Party was aware of her surroundings and able to
communicate. Reporting Party also continued to carry on the text conversation
with Wyireess 1 on the morning of November 3, 2017, in which she stated she fell
asleep.

In sum, based on the preponderance of the evidence, the investigators find that it
is more likely than not that Responding Party did not roll Reporting Party over,
take her pants off, and start to perform oral sex on her.

Finding: |

Nota violation. Because OAE has determined that the allegation that Responding
Party started to perform oral sex on Reporting Party is not substantiated, a finding
of sexual assault cannot be supported.

Allegation:

Responding Party sent Reporting Party an email on November 5, 2017, in which
he stated, among other things, that he felt like he should have been more of an
adult on the night of November 2, that he should have shown more restraint, and
that he should have talked more and assumed less.

Determination:

Substantiated. It is more likely than not that the email was sent as investigators
were provided copies of the email by both parties.

Finding:

Not a violation. OAE finds that sending the email does not constitute sexual
harassment and does not constitute an admission that he engaged in sexual
harassment or sexual assault. First, the email lacks sufficient detail to discern
what Responding Party intended with the communication. Second, Reporting
Party did not respond to the email; as a result, there are no subsequent emails

 

> For this reason, also, OAE finds that Reporting Party is not credible in this regard.

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between the parties that potentially could have provided additional context by
which to assess Responding Party’s intent in order to help contour what is
otherwise a vague and ambiguous communication.

Responding Party’s explanation of his rationale for sending the email is therefore
uncontroverted and is plausible. Responding Party states that the reason he sent
Reporting Party the email was because she appeared to be upset while leaving his
apartment (a fact that is not in dispute). Responding Party stated that he was
concerned about Reporting Party and wanted to make sure she was okay and to
let her know that he was willing to discuss the night in question if she so desired.
Responding Party also shared with OAE investigators that when he states “I
should have talked more and assumed less” in the email he was acknowledging
that his assumption that it was acceptable for faculty members to have students
spend the night was flawed. He also stated to OAE that he was also
acknowledging that he should have asked Reporting Party whether she was
signaling her consent to additional physical contact, i.e. stroking Reporting
Party’s leg, while they were “spooning” in his bed.

Analysis: Sexual Harassment
UIC’s Sexual Misconduct Policy defines sexual harassment as:

“unwelcome sexual advances, requests for sexual favors, and other physical or
verbal conduct of a sexual nature when it meets any of the following:

a. Submission to such conduct is made either explicitly or implicitly a term
or condition of an individual's education, living environment, employment,
or participation in a University-related activity or program.

b. Submission to or rejection of such conduct by an individual is used as the
basis for decisions affecting an individual’s education, living environment,
employment, or participation in a University-related activity or program.

c. Such conduct has the purpose or effect of unreasonably interfering with an
individual's work or academic performance or creating an intimidating,
hostile, or offensive environment for working, learning, or living on
campus.”

OAE finds that it is more likely than not that Responding Party had his hand on and rubbed
Reporting Party’s back over her clothes. Given the duration and context of the conduct,
this conduct could reasonably be construed to be “other physical conduct of a sexual
nature.” The analysis then turns to whether the conduct meets a, b, or c of the sexual
harassment definition.

OAE finds that it is more likely than not that submission to or rejection of such conduct was
neither made a term or condition of Reporting Party’s education, living environment,
employment, or participation in a University-related activity or program, nor was it used as
the basis for decisions affecting her education, living environment, employment, or
participation in a University-related program or activity. For example, the evidence

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suggests that Reporting Party’s ability to participate cither academically or as a graduate
assistant was not objectively diminished or adversely impacted, and remained unchanged
after the November 3, 2017, alleged incident. For example, Reporting Party maintained an
“A” average in her course work, and was also invited to participate in Responding Party’s
research grant, and did so.

Similarly, OAE also finds by a preponderance of the evidence that Responding Party having
his hand on and rubbing Reporting Party’s back did not unreasonably interfere with
Reporting Party’s work or academic performance or create’an intimidating, hostile, or
offensive environment for working or learning. When determining whether conduct rises
to this level, we must assess whether the conduct in question is (a) offensive and whether it
is also either (b) severe or (c) pervasive. In determining whether the complained of conduct
was offensive, the evidence shows that Reporting Party did not object to Responding Party’s
touching at any point during the night or otherwise give the witnesses in attendance or
Responding Party the impression that the conduct was unwelcome or offensive. For
example, Witness 1 stated that she “couldn’t determine whether Reporting Party was
comfortable or not.” Witness 6 stated that Reporting Party was conversing with Responding
Party throughout the night and Reporting Party “seemed fine.” Further, Witness 6 stated
that Reporting Party got up from where she was sitting and then returned to the arm of the
couch, where she had been sitting before next to Responding Party. Several witnesses also
stated that Reporting Party appeared to be acting as she had been throughout the night and
did not appear to object to the conduct. Had Reporting Party objected to or otherwise given
some observable indication of discomfort with Responding Party’s conduct, it is reasonable
to conclude that at least one witness would have observed her discomfort,® but none of the
witnesses reported observing this. For these reasons also, the conduct cannot be classified
as severe. As to the pervasiveness of the alleged conduct, the complained of conduct
occurred on one night only and did not persist beyond said night nor was the conduct
widespread.’

Thus, OAE finds, by a preponderance of the evidence, that Responding Party placing his
hand on and rubbing Reporting Party’s back did not create an intimidating, hostile, or
offensive environment and thus such conduct does not constitute sexual harassment.
Analysis: Sexual Assault

UIC’s Sexual Misconduct Policy defines sexual assault as:

 

° The majority of the witnesses stated that they did not believe that Reporting Party’s behavior had changed
while in Responding Party’s apartment, even while being touched on the back, and did not question whether
it was safe to leave her in Responding Party’s apartment while they went to the store. To the extent they
observed discomfort with or objection to Responding Party’s touching, it is reasonable to conclude that they
would have intervened directly or indirectly.

’ For conduct to be pervasive, it is not enough that knowledge of complained of conduct is widespread; the
conduct itself must be widespread. So although the evidence does establish that knowledge of the
complained of conduct is widespread—many witnesses learned of Reporting Party’s allegations during the
Fall semester of 2017 and Spring semester of 2018—there is no indication that the conduct itself is, in fact,
widespread.

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“[AJ]ny form of non-consensual sexual activity. Sexual assault includes all
unwanted sexual acts that range from fondling to attempted rape or rape. Rape
is defined as penetration “no matter how slight” of the vagina or anus with any
body part or object, or oral penetration by a sex organ of another person,
without the consent of the victim. Sexual assault also includes sex with minors
(e.g. statutory rape or incest), sex between a minor (i.e. age 17 or younger) and
a person who is 18 years or older and holds a position of authority over the
complainant, and sex with a person who is unable to understand the nature of
the act or is unable to give consent.” .

In order to establish sexual assault pursuant to UIC’s Sexual Misconduct Policy, a
preponderance of the evidence must show that Reporting Party was subjected to “unwanted
sexual acts that range from fondling to attempted rape or rape.” Respondent alleges that
Responding Party took her pants off and started to perform oral sex on her without asking
her for her permission. As discussed in section IV.5, OAE has determined that the
allegation that Responding Party started to perform oral sex on Reporting Party is not
substantiated, and thus a finding of sexual assault cannot be supported.

Also, and while not alleged by Reporting Party, Responding Party shared with investigators
that he stroked Reporting Party’s leg while she was in his bed but that he immediately
stopped when she froze. Responding Party also stated that prior to stroking her leg,
Reporting Party positioned her hips (i.e., thrusted) so that they made contact with
Responding Party’s hips. Responding Party stated that he interpreted Reporting Party’s
positioning as a non-verbal cue that touching was a welcome behavior for which he received
her non-verbal consent.®. Reporting Party has denied Responding Party’s version of events,”
and asserts that she was incapacitated at the time and could not give consent. On the issue
of capacity (see section IV.2), the evidence does not support a finding by a preponderance
of the evidence that Reporting Party was incapacitated either at Beer Bistro or at
Responding Party’s apartment.

Therefore, since OAE has determined by a preponderance of the evidence that Reporting
Party did not lack capacity, OAE reviewed Responding Party’s version of events to
determine whether his admitted conduct establishes by a preponderance of the evidence that
he violated the Sexual Misconduct Policy by stroking Reporting Party’s leg without her
consent. The positioning of Reporting Party’s hips against Responding Party’s and the
alleged thrusting could reasonably be interpreted by the Responding Party as non-verbal
consent on the part of Reporting Party to touch or stroke her leg. Likewise, Reporting
Party’s reaction (i.c., she froze) to Responding Party stroking her leg could reasonably be
interpreted as a non-verbal withdrawal of consent. According to Responding Party, in
response to Reporting Party freezing, he stopped stroking her leg. For these reasons, if

 

§ For purposes of the Policy, “consent” means, in part, “clear and unambiguous agreement by a competent
person that is freely given and expressed in mutually understandable words or actions, to engage in a
particular sexual activity with a specific person or persons.” See
https://sexualmisconduct.uic.edw/policy/policy-definitions/consent/

® Reporting Party has also stated that her recollection of that night is limited to what she shared in her
complaint, which does not include Responding Party’s stroking of her leg.

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Responding Party’s self-reported conduct is true, it would not constitute sexual assault or
sexual harassment.

Conclusion

In light of the above, based upon a preponderance of the evidence collected during the
investigation, and taking into account all of the allegations and information obtained during
the investigation, OAE finds that Responding Party’s conduct, individually and in total,
does not constitute a violation of the Sexual Misconduct Policy as either sexual harassment
or sexual assault. OAE makes no findings with regard to whether Responding Party’s
conduct as described above violated or was otherwise inconsistent with any other applicable
policy or any other employee or faculty conduct standards or expectations.

M Next Steps

Since Responding Party is an employee, the Sexual Misconduct Policy does not provide
either party with the option to appeal OAE’s findings.

As a reminder, UIC prohibits retaliation against any person who reports sexual misconduct
and/or who participates in a Sexual Misconduct investigation or resultant disciplinary
process. Any report of retaliation—including by third parties—will be taken seriously and
reviewed as a separate violation of the Policy.

Please note that administrative leave is a departmental/college matter. This letter does not
alter the status of your administrative leave.

Sincergly,

  
 

Michael Diaz
Title IX Coordinat

Cc: Astrida Tantillo
Beth Richie
Caryn Bills
Amy Truelove
